      Case7:24-cv-02929-KMK
     Case  7:24-cv-02929-KMK Document
                              Document46
                                       44 Filed
                                           Filed05/08/25
                                                 05/07/25 Page
                                                           Page11ofof11




                  THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK



 HOLTEC INTERNATIONAL,
 HOLTEC INDIAN POINT 2, LLC,
 HOLTEC INDIAN POINT 3, LLC and
 HOLTEC DECOMMISSIONING
 INTERNATIONAL, LLC,                               Case No. 7:24-cv-02929-KMK

                    Plaintiffs,

         - against-

 THE STATE OF NEW YORK,

                    Defendant.


                                  MOTION TO WITHDRAW

      I am Philip Bein, attorney of record for defendant State of New York in the

within case, and respectfully submit this motion to withdraw due to my impending

retirement. The parties have submitted fully briefed motions for summary judgment

that are pending before the Court. I will be retiring from service in the New York

Attorney General's Office on May 14, 2025. Channing Wistar Jones, an attorney in

that office, will be taking over for me as counsel of record and has already filed an

appearance in the case. I am not asserting a retaining or charging lien in the case.

      Wherefore, I respectfully request that the Court enter an order for my

withdrawal as counsel in this case.

Dated: New York, New York
       May 7, 2025
                                               Is I Philip Bein
                                                Philip Bein




                :JiON. KENNETH M. KARAS U.S.D.J.
                             s-/ /;?o~ S
                                   fl
